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UNITED STATES DISTRICT COURT                                              ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                             DOC #:
------------------------------------------------------------------X       DATE FILED: 04/18/19
DMITRIY KHMALADZE, and IT ADAPTER                                 :
CORPORATION, INC.,                                                :
                                                                  :
                                                    Plaintiff, :        1:16-cv-8029-GHW
                                                                  :
                          -against-                               :   MEMORANDUM ORDER
                                                                  :      AND OPINION
MIKHAIL VOROTYNTSEV, AUM CODE, LLC, :
IT ADAPTER, LLC, and SHOPLINK, INC.,                              :
                                                                  :
                                               Defendants. :
                                                                  :
----------------------------------------------------------------- X


    I.        INTRODUCTION

         Gary Tatintsian filed a complaint in a related case against Defendant Mikhail Vorotyntsev

and his wife for allegedly misappropriating hundreds of thousands of dollars from Defendant

ShopLink Inc. (“ShopLink”) to fund their “lavish lifestyle.” See Tatintsian v. Vorotyntsev, 16-cv-7203-

GHW. Plaintiffs Dmitriy Khmaladze and IT Adapter Corporation, Inc. filed this lawsuit against

Mikhail Vorotyntsev, AUM Code LLC, IT Adapter LLC, and ShopLink claiming that Vorotyntsev

defrauded Plaintiffs in much the same way. See Complaint (ECF No. 1) (“Compl.”) ¶¶ 1-5.

         After Plaintiffs filed suit, ShopLink answered the complaint and asserted ten counterclaims

against Plaintiffs arising out of Plaintiffs’ alleged plan to usurp ShopLink’s business model and

employees. Vorotyntsev, AUM Code, LLC, and IT Adapter, LLC, also answered and asserted

counterclaims against Plaintiffs. For the reasons that follow, Plaintiffs’ motion to dismiss

ShopLink’s counterclaims is DENIED, Plaintiffs’ motion to dismiss AUM Code LLC and IT

Adapter, LLC’s counterclaims is DENIED, and Plaintiffs’ motion to dismiss Vorotyntsev’s

counterclaim is GRANTED.
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    II.      BACKGROUND1

          Mikhail Vorotyntsev founded ShopLink in 2012 to develop software to sell and market

goods on social media. Vorotyntsev’s Amended Answer and Counterclaims (ECF No. 38)

(“Vorotyntsev CC”) ¶ 7. In January 2013, Vorotyntsev was introduced to Dimitriy Khmaladze, an

experienced software architect and computer programmer with “special expertise in system

frameworks.” Id. ¶¶ 17, 18. Vorotyntsev told Khmaladze about his ideas for ShopLink, and by

February 2013, Khmaladze began working for ShopLink as its Chief Technology Officer. Id. ¶¶ 20,

21. Later, Vorotyntsev formed AUM Code LLC (“AUM Code”) with Khmaladze to develop source

code and ShopLink’s “back-end architecture.” Id. ¶ 22. AUM Code has two members—

Vorotyntsev, who owns 60 percent of the company, and IT Adapter Corporation Inc. (of which

Khmaladze is the sole shareholder), which owns 40 percent. Id. ¶ 23. AUM Code, in turn, has a

wholly owned subsidiary, IT Adapter LLC, which oversees certain operations for AUM Code and

ShopLink. Id. ¶ 24. Khmaladze “became a manager of AUM Code” and served as the company’s

Chief Technology Officer. Id. ¶ 27. “Over the course of their working relationship, Vorotyntsev

and ShopLink relied on Khmaladze’s superior knowledge and expertise and entrusted him with

confidential and proprietary information concerning his business plan for ShopLink and its

affiliates.” Id. ¶ 29.

          In 2014, Vorotyntsev hired Younis Zubchevich, an investment banker and businessman, as a

business advisor to ShopLink. Id. ¶ 43. In June 2015, Vorotyntsev told his old friend Gary

Tatintsian about ShopLink, and in September 2015, Tatintsian expressed an interest in investing in

ShopLink. Id. ¶ 45. Ultimately, in April 2016, Tatintsian invested in ShopLink. Id. ¶ 46. ShopLink


1Unless otherwise noted, the facts are taken from ShopLink, AUM Code, or Vorotyntsev’s Amended
Counterclaims, as applicable, and are accepted as true for the purposes of this motion. See, e.g., Chambers v.
Time Warner, Inc., 282 F.3d 147, 152 (2d Cir. 2002). However, “the tenet that a court must accept as true all of
the allegations contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662,
678 (2009).

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alleges that Tatintsian ultimately “devised a scheme to use his resources to punish Vorotyntsev, take

ShopLink’s business plan and usurp its technology” because Vorotyntsev declined to accept

additional investments from Tatintsian’s associates. See id. ¶¶ 50-57. In furtherance of this scheme,

Tatintsian allegedly induced Zubchevich and Khmaladze to leave ShopLink and help Tatintsian

develop a competing business. Id. ¶¶ 60, 61.

           In the months following Tatintsian’s investment in the company, Tatintsian allegedly

received copies of ShopLink’s bank statements on the condition that he keep them confidential;

Tatintsian nonetheless shared them with Khmaladze and Zubchevich. Id. ¶ 65. Zubchevich

contacted ShopLink investors, telling them that ShopLink was a scam and that Vorotyntsev had lied

about ShopLink’s ownership of the underlying technology. Id. ¶ 67. Tatintsian and Zubchevich

tried to induce Khmaladze to “sever his ties with Vorotyntsev and ShopLink.” Id. ¶ 66.

           Khmaladze did in fact resign on September 11, 2016. Id. ¶ 72. The same day, Khmaladze

terminated Vorotyntsev’s access to ShopLink and AUM Code’s proprietary source code. Id. The

next day, Khmaladze “disavowed his association with AUM Code and IT Adapter,” and rescinded

Vorotyntsev’s access to his IT Adapter email account. Id. ¶ 74. Khmaladze also refused to release

funds to pay software engineers and other expenses necessary to complete the development of

ShopLink and AUM Code’s technology. Id. ¶ 73. To date, Khmaladze has refused to provide

Vorotyntsev access to the “Assembla code repository” where ShopLink’s source code is stored.

Id. ¶ 76.

    III.      PROCEDURAL HISTORY

           On January 27, 2017 ShopLink filed an Amended Answer and Counterclaims against

Plaintiffs. ShopLink’s Amended Answer and Counterclaims (ECF No. 36) (“ShopLink CC”).

ShopLink’s counterclaims assert claims against Plaintiffs for (1) breach of contract, including the

implied covenant of good faith and fair dealing; (2) breach of fiduciary duty; (3) unfair competition


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perpetrated by civil conspiracy; (4) conversion perpetrated by civil conspiracy; (5) promissory

estoppel; (6) unjust enrichment; (7) tortious interference with prospective business relations with

investors perpetrated by civil conspiracy; (8) declaratory judgment regarding a Confidentiality, Non-

Disclosure and Non-Circumvention Agreement (the “NDA”) entered into by Khmaladze; (9)

breach of the NDA; and (10) declaratory judgment regarding ShopLink’s rights to certain software

under the Copyright Act. See id.

        On the same day, AUM Code LLC Inc. and IT Adapter LLC (together, the “AUM Code

Defendants”) also filed an Amended Answer and Counterclaims against Plaintiffs. The AUM Code

Defendants’ Amended Answer and Counterclaims (ECF No. 37) (“AUM Code CC”). Those

Defendants assert counterclaims against Plaintiffs for (1) breach of contract, including the implied

covenant of good faith and fair dealing; (2) breach of fiduciary duty; (3) conversion; (4) promissory

estoppel; (5) declaratory judgment regarding AUM Code’s rights to certain code and software under

the Copyright Act; and (6) breach of contract for violation of the Non-Compete and Confidentiality

provisions of the Asset Purchase Agreement between AUM Code LLC, IT Adapter Corporation,

and Khmaladze (the “APA”). See id.

        Finally, on February 3, 2017 Vorotyntsev filed an Amended Answer and Counterclaim

against Plaintiffs asserting one claim against Plaintiffs for breach of their fiduciary duties. See

Vorotyntsev CC.

        Plaintiffs moved to dismiss certain of the counterclaims. Specifically, Plaintiffs moved to

dismiss (1) ShopLink’s counterclaims for promissory estoppel, unjust enrichment, and tortious

interference with prospective business relations; (2) AUM Code’s counterclaims for promissory

estoppel and breach of contract; and (3) Vorotyntsev’s claim for breach of fiduciary duty. See

Plaintiffs’ Motion to Dismiss (ECF No. 48) (“Mot. to Dismiss”). Counterclaim Plaintiffs jointly

opposed Plaintiffs’ motion to dismiss. See Opposition to Plaintiffs’ Motion to Dismiss (ECF No.


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53) (“Opp’n”). Plaintiffs filed a reply in further support of their motion to dismiss. See Plaintiffs’

Reply (ECF No. 56) (“Reply”).

    IV.      LEGAL STANDARD

          “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted

as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). It is not

enough for a plaintiff to allege facts that are consistent with liability; the complaint must “nudge”

claims “across the line from conceivable to plausible.” Twombly, 550 U.S. at 570. “To survive

dismissal, the plaintiff must provide the grounds upon which his claim rests through factual

allegations sufficient ‘to raise a right to relief above the speculative level.’” ATSI Commc’ns, Inc. v.

Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007) (quoting Twombly, 550 U.S. at 555).

          Determining whether a complaint states a plausible claim is a “context-specific task that

requires the reviewing court to draw on its judicial experience and common sense.” Iqbal, 556 U.S.

at 679. The court must accept all facts alleged in the complaint as true and draw all reasonable

inferences in the plaintiff’s favor. Burch v. Pioneer Credit Recovery, Inc., 551 F.3d 122, 124 (2d Cir. 2008)

(per curiam). However,

                 “[t]hreadbare recitals of the elements of a cause of action, supported
                 by mere conclusory statements, do not suffice.” A complaint must
                 therefore contain more than “naked assertion[s] devoid of further
                 factual enhancement.” Pleadings that contain “no more than
                 conclusions . . . are not entitled to the assumption of truth” otherwise
                 applicable to complaints in the context of motions to dismiss.

DeJesus v. HF Mgmt. Servs., LLC, 726 F.3d 85, 87-88 (2d Cir. 2013) (quoting Iqbal, 556 U.S. at 678-

79). Thus, a complaint that offers “labels and conclusions” or “naked assertion[s]” without “further



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factual enhancement” will not survive a motion to dismiss. Iqbal, 556 U.S. at 678 (citing Twombly,

550 U.S. at 555, 557).

         In deciding this motion to dismiss, the Court may consider documents that were either

incorporated by reference into the counterclaims or integral to the claims asserted therein. See

Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002). For a document to be integral to a

complaint, “the plaintiff must have (1) ‘actual notice’ of the extraneous information and (2) ‘relied

upon th[e] documents in framing the complaint.’” DeLuca v. AccessIT Grp., Inc., 695 F. Supp. 2d 54,

60 (S.D.N.Y. 2010) (quoting Chambers, 282 F.3d at 153). While the Court must accept the facts as

alleged in the complaint, “when any allegations contradict the evidence contained in the documents

relied upon by a plaintiff, the documents control, and the Court need not accept the allegations

contained within the complaint as true.” Rozsa v. May Davis Group, Inc., 187 F. Supp. 2d 123, 128

(S.D.N.Y. 2002).

         Here, the Court considered the APA because it is integral to the AUM Code Defendants’

Counterclaims. The AUM Code Defendants clearly had “actual notice” of the APA and relied on it

in framing their complaint because their breach of contract claim arises out of Plaintiffs’ alleged

violation of certain covenants in the APA; indeed, the counterclaims quote extensively from, and

characterize the parties’ obligations under, the APA. See AUM Code CC ¶¶ 162-69.

    V.      DISCUSSION

            a. Promissory Estoppel and Unjust Enrichment (ShopLink – Counts Five and Six; AUM Code
               Count Four)
         Plaintiffs’ motion to dismiss the AUM Code Defendants’ and ShopLink’s claims for

promissory estoppel and unjust enrichment as duplicative is denied because parties may plead both

breach of contract and quasi-contract theories in the alternative when the defendant does not

concede the enforceability of such contract. “The existence of a valid and enforceable written

contract governing a particular subject matter ordinarily precludes recovery in quasi-contract for
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events arising out of the same subject matter.” Dart Brokerage Corp. v. Am. Commerce Ins. Co., No. 13

CIV. 04015 LGS, 2013 WL 5966901, at *2 (S.D.N.Y. Nov. 7, 2013) (quotation marks and alteration

omitted) (quoting Clark–Fitzpatrick, Inc. v. Long Island R. Co., 516 N.E.2d 190, 193 (N.Y. 1987)).

Nonetheless, “it is also well-established that plaintiffs who allege the existence of a valid contract

may nonetheless plead the alternative theories of promissory estoppel and breach of contract when

the defendant does not concede the enforceability of such contract.” Personal Watercraft Prod. SARL

v. Robinson, No. 16-CV-9771 (AJN), 2017 WL 4329790, at *11 (S.D.N.Y. Sept. 1, 2017) (internal

citations, quotation marks, and alterations omitted) (collecting cases).

        Here, both ShopLink’s and the AUM Code Defendants’ counterclaims contain claims for

breach of contract and promissory estoppel. see ShopLink CC ¶¶ 151-57, 182-85; AUM Code CC ¶¶

119-27, 142-151, 162-69. ShopLink’s counterclaims also contain a claim for unjust enrichment.

ShopLink CC ¶¶ 158-64. Plaintiffs assert that the equitable, non-contractual claims should be

dismissed as duplicative. See Mot. to Dismiss at 17-18. However, Plaintiffs do not concede the

enforceability of the relevant contract. Compare e.g., Compl. ¶ 88 (“Plaintiffs are not bound by the

Asset Purchase Agreement.”) with e.g., ShopLink CC ¶ 123 (“Khmaladze breached this contract. . .

.”) and AUM Code CC ¶ 122 (“Khmaladze, including through IT Adapter Corp., breached this

contract. . . .”). In light of Plaintiffs’ position that the contract is unenforceable, the Corporate

Defendants may plead alternative claims for the equitable, non-contractual remedies of promissory

estoppel and unjust enrichment. See Personal Watercraft, 2017 WL 4329790, at *11; Piven v. Harwood

Feffer LLP, No. 14 CIV. 6601 LAK, 2015 WL 1267423, at *1 (S.D.N.Y. Mar. 11, 2015) (concluding

that there was no “fatal inconsistency between the breach of contract and promissory estoppel

claims” where defendants contended that no contract was ever formed); Dart, 2013 WL 5966901, at

*2 (“[A] party is not precluded from proceeding on both breach of contract and quasi-contract




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theories where there is a bona fide dispute as to the existence of a contract or where the contract

does not cover the dispute in issue.” (citation omitted)).

            b. Tortious Interference with Prospective Business Relations (ShopLink – Count Seven)

        ShopLink’s counterclaim for tortious interference with prospective business relations is

adequately pleaded. To state a claim for tortious interference with prospective business relations, a

plaintiff must allege that: “(1) there was a business relationship with a third party; (2) defendant

knew of that relationship and intentionally interfered with it; (3) defendant either acted solely out of

malice or used wrongful means; and (4) defendant’s interference caused injury to the relationship

with the third party.” Vinas v. Chubb Corp., 499 F. Supp. 2d 427, 434 (S.D.N.Y. 2007) (citing Carvel

Corp. v. Noonan, 350 F.3d 6, 17 (2d Cir. 2003)). “‘Wrongful means’ include physical violence, fraud

or misrepresentation, civil suits and criminal prosecutions, and some degrees of economic pressure;

they do not, however, include persuasion alone . . . .” Guard-Life Corp. v. S. Parker Hardware Mfg.

Corp., 50 N.Y.2d 183, 191 (1980) (citation omitted). In order to show wrongful means

                [T]he plaintiff must show that defendant’s conduct was not “lawful”
                but “more culpable.” The implication is that, as a general rule, the
                defendant’s conduct must amount to a crime or an independent tort.
                Conduct that is not criminal or tortious will generally be “lawful” and
                thus insufficiently “culpable” to create liability for interference with
                prospective contracts or other nonbinding economic relations.

Carvel Corp. v. Noonan, 3 N.Y.3d 182, 190 (2004). “[C]onduct constituting tortious interference with

business relations is, by definition, conduct directed not at the plaintiff itself, but at the party with

which the plaintiff has or seeks to have a relationship.” XYZ Two Way Radio Serv., Inc. v. Uber Techs.,

Inc., 214 F. Supp. 3d 179, 187 (E.D.N.Y. 2016) (internal quotation marks omitted) (citing Carvel

Corp., 3 N.Y.3d at 190).

        ShopLink’s counterclaims plead the elements of this claim. ShopLink’s pleading identifies

the fact that it has business relations with several investors, who invested in ShopLink. ShopLink

CC ¶ 166. The pleading identifies the alleged wrongful means utilized by Khmaladze and his co-
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conspirators, Tatintsian and Zubchevich, to interfere with the company’s relationship with those

investors. They harassed certain of the investors. Id. ¶ 167. And they falsely told them that

ShopLink is a fraud. Id. ¶ 168. That wrongful conduct, ShopLink alleges, resulted a deterioration of

the company’s relationship with those investors, and limited the company’s ability to raise additional

funds. Id. ¶ 170. Plaintiffs argue that ShopLink’s claim should fail because it chose not to identify a

specific investor—but the investors at issue are sufficiently identified for purposes of notice

pleading; and, indeed, ShopLink has offered to provide the name of the investor referenced

anonymously in the complaint. As a result, Plaintiffs’ motion to dismiss this claim is denied.

            c. Breach of Contractual Non-Compete Agreement and Confidentiality Provision (AUM Code
               Defendants – Count Six)
        AUM Code has adequately stated a claim for breach of contract. “‘To state a claim in federal

court for breach of contract under New York law, a complaint need only allege (1) the existence of

an agreement, (2) adequate performance of the contract by the plaintiff, (3) breach of contract by

the defendant, and (4) damages.’” Axiom Inv. Advisors, LLC by & through Gildor Mgmt., LLC v.

Deutsche Bank AG, 234 F. Supp. 3d 526, 535 (S.D.N.Y. 2017) (quoting Harsco Corp. v. Segui, 91 F.3d

337, 348 (2d Cir. 1996)). “A claimant’s failure to plead the performance of its own contractual

obligations is fatal to a breach of contract claim even if the other requisite elements are properly

pleaded.” Transcience Corp. v. Big Time Toys, LLC, 50 F. Supp. 3d 441, 451 (S.D.N.Y. 2014) (citations

omitted).

        Here, the parties only dispute whether AUM Code adequately performed under the APA.

See Mot. to Dismiss at 19-21. AUM Code alleges that it performed its obligations. AUM Code CC

¶ 167. This allegation is nothing more than a threadbare recital of one of the elements of a cause of

action for breach of contract, and as a result, it would not carry the day on its own. DeJesus, 726

F.3d at 87-88. But AUM Code also specifically explains how it did so: AUM Code “performed its



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obligations under the Asset Purchase Agreement as Khmaladze (through ITAdapter Corp.) is now

the owner of 40% of Aum Code.” AUM Code CC ¶ 121.

         Plaintiffs assert that AUM Code cannot have performed its obligations under the contract

because no closing occurred under the agreement. Mot. to Dismiss at 20-21. Under the terms of

the APA, AUM Code agreed to “deliver and cause to be delivered to [Khmaladze] (or a designee of

[Khmaladze]) . . . The Purchase Price otherwise the 40% membership interest in Buyer, as provided

in Section 2.3” of the APA. Ex. B to Compl. § 8.3. Section 2.3, in turn, provides that

                The purchase price for the Assets is a number of Class A Units of
                [AUM Code] equal to 40% of the outstanding membership units of
                [AUM Code] on the Closing Date (the “Seller Units”) plus the
                Assumed Liabilities. . . . The Seller Units shall be issued to the Seller
                at the Closing on the Closing Date. . . .

Id. § 2.3.

         The APA established a procedure in which consideration was to be delivered at a closing.

AUM Code admits that “no formal event akin to a ‘closing’ has yet occurred.” AUM Code’s

Amended Answer (ECF No. 37) ¶ 57. Because no closing occurred consistent with the terms of the

APA, Plaintiffs argue that AUM Code has not performed its obligations and Plaintiffs are excused

from performing any obligations under the agreement as a matter of law.

         This is a dispute that cannot be resolved in a motion to dismiss. AUM Code alleges that

40% of its shares were transferred to Khmaladze or his representative. See, e.g., AUM Code CC ¶¶ 8,

46, 121. The Court must accept that fact as true for purposes of this motion. Burch, 551 F.3d at

124. Whether that is in fact true, and, moreover, whether AUM Code’s failure to transfer those

interests at a formal closing represented a material breach of the contract cannot be determined

from the face of the pleadings. As a result, Plaintiffs’ motion to dismiss this claim is denied.




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            d. Breach of Fiduciary Duty (Vorotyntsev – Count One)

        Vorotyntsev has failed to state a claim for breach of fiduciary duty against either IT Adapter

or Khmaladze. Vorotyntsev’s claims for breach of fiduciary duty against IT Adapter fail because IT

Adapter was only a minority member in AUM Code. Vorotyntsev owned 60% of AUM Code. He

claims that IT Adapter, the owner of the remaining 40% interest in the company, owed fiduciary

duties to him personally. “‘[I]n the absence of provisions in the LLC agreement explicitly

disclaiming the applicability of default principles of fiduciary duty,’ controlling members in a

manager-managed LLC owe minority members ‘the traditional fiduciary duties’ that controlling

shareholders owe minority shareholders.” Kelly v. Blum, No. CIV.A. 4516-VCP, 2010 WL 629850, at

*12 (Del. Ch. Feb. 24, 2010) (internal citations omitted). However, “Delaware imposes no default

fiduciary duties on non-managing, non-controlling members, as a matter of Delaware law.” Imbert v.

LCM Interest Holding LLC, 2013 WL 1934563, at *7 (Del. Ch. May 7, 2013). IT Adapter had less

than a majority stake in the company. Vorotyntsev does not allege that IT Adapter was the manager

of AUM Code; to the contrary, he asserts that Khmaladze held that role. Vorotyntsev CC ¶ 83. The

counterclaims do not assert facts sufficient to allege that IT Adapter owed Vorotyntsev a fiduciary

duty on any other basis. As a result, because IT Adapter was not a controlling member of AUM

Code, it did not owe its fellow member, Vorotyntsev, a direct fiduciary duty.

        Vorotyntsev’s claim against Khmaladze fails because Vorotyntsev has failed to plausibly

plead that Khmaladze was a manager of AUM Code. As a result, Vorotyntsev has not adequately

pleaded that Khmaladze breached the fiduciary duties that a manager of a limited liability company

owes to the company’s members. As noted above, Vorotyntsev superficially pleads that Khmaladze

was a “manager” of AUM Code. Vorotyntsev CC ¶ 83. He does so presumably because under

Delaware law, “‘in the absence of a contrary provision in the LLC agreement,’ LLC managers . . .

owe ‘traditional fiduciary duties of loyalty and care’ to each other and to the company.” Auriga


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Capital Corp. v. Gatz Properties, 40 A.3d 839, 849–51 (Del. Ch.), judgment entered sub nom. Auriga Capital

Corp. v. Gatz Properties, LLC (Del. Ch. 2012), aff’d, 59 A.3d 1206 (Del. 2012). The parties agree that

there was no written limited liability agreement for AUM Code that might exculpate a manager from

these default duties. As a result, if Khmaladze was AUM Code’s manager, he would owe fiduciary

duties to the company’s members, including Vorotyntsev.

         Vorotyntsev’s claim disregards the Delaware law that defines a “manager” as follows:

                   Unless otherwise provided in a limited liability company agreement,
                   the management of a limited liability company shall be vested in its
                   members in proportion to the then current percentage or other
                   interest of members in the profits of the limited liability company
                   owned by all of the members, the decision of members owning more
                   than 50 percent of the said percentage or other interest in the profits
                   controlling; provided however, that if a limited liability company
                   agreement provides for the management, in whole or in part, of a
                   limited liability company by a manager, the management of the
                   limited liability company, to the extent so provided, shall be vested in
                   the manager who shall be chosen in the manner provided in the
                   limited liability company agreement.

Del. Code Ann. tit. 6, § 18-402 (West). Vorotyntsev admits that AUM Code did not have a written

limited liability company operating agreement. Vorotyntsev’s Amended Answer (ECF No. 38) ¶ 36.

As a result, by default, the company would be managed not by a manager, but, rather, by the

company’s members. According to the pleadings, Khmaladze was not designated as AUM Code’s

manager pursuant to a limited liability company agreement. 2 As a result, the counterclaims do not

adequately plead that Khmaladze was a manager of the company, owing fiduciary duties to its

members.

         To oppose this conclusion, Vorotyntsev points to Chancellor Strine’s opinion in

WaveDivision Holdings, LLC v. Millennium Digital Media Sys., L.L.C., No. C.A. 2993-VCS, 2010 WL


2
  Under Delaware law, a limited liability company agreement can be either written or oral, but oral agreements are
subject to the statute of frauds. See generally, Olson v. Halvorsen, 986 A.2d 1150, 1160 (Del. 2009). Here, Vorotyntsev
expressly concedes that there was no written agreement. Vorotyntsev never alleges that there existed an oral limited
liability company pursuant to which Khmaladze was designated as a manager.

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3706624 (Del. Ch. Sept. 17, 2010). Vorotyntsev argues that the case holds that one can become a

“de facto” manager of a limited liability company. Vorotyntsev badly misreads the case. As part of

his findings of fact in a case involving a contract dispute, Chancellor Strine described one player in

the case as a “de facto” manager of a limited liability company. Significantly, Chancellor Strine

described the “de facto” manager as having been granted that authority by the management

committee that was charged with governance of the limited liability company. 3 The Court does not

believe that WaveDivision can be read to stand for the proposition that a person can become a

manager of a Delaware limited liability company—liable to its members as well as the company

itself—by virtue of the nature of the responsibilities assumed by that person in the operation of the

limited liability company, and without being named as a manager in the limited liability company

agreement.

         Furthermore, Vorotyntsev does not adequately allege that Khmaladze owes a direct fiduciary

duty arising from a relationship of “trust and confidence” as a result of Khmaladze’s work

coordinating the development of software for ShopLink. “Under New York law, a fiduciary duty

arises if ‘confidence is reposed on one side and there is resulting superiority and influence on the

other.’” In re Refco Inc. Sec. Litig., 826 F. Supp. 2d 478, 502-03 (S.D.N.Y. 2011) (citing United States v.

Chestman, 947 F.2d 551, 568 (2d Cir.1991)); see also Daly v. Metropolitan Life Ins. Co., 782 N.Y.S.2d 530,

535 (Sup. Ct. N.Y. Co. 1992) (“[A] fiduciary duty arises, even in a commercial transaction, where one

party reposed trust and confidence in another who exercises discretionary functions for the party’s

benefit or possesses superior expertise on which the party relied.”). Vorotyntsev alleges in a

conclusory manner that he had a “special relationship of trust and confidence” with Khmaladze.


3
 WaveDivision Holdings, LLC, 2010 WL 3706624, at *3 (“Despite Millennium’s claim that Westbrook was the manager in
charge, I am convinced that at all relevant times Fredette was also acting as not only an agent of the Management
Committee but also as a fiduciary of Millennium. In essence, he was empowered as a de facto manager of Millennium,
and wielded great influence over other Millennium managers, including Westbrook, precisely because he was given that
role by key members of the Management Committee.”)

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Vorotyntsev CC ¶ 84. This conclusory statement standing on its own does not adequately plead the

existence of a fiduciary duty.

          The facts regarding the parties’ relationship as set forth in the pleadings do not adequately

show that Khmaladze owed Vorotytnsev, personally, any fiduciary duties—if anything, those duties

were owed to ShopLink, the company both men were working to develop. Vorotytnsev owned

ShopLink, the company where Khmaladze worked as Chief Technology Officer. Vorotyntsev relied

on Khmaladze’s expertise with computer technology; he explained his business plan to his

employee, Khmaladze. Vorotyntsev CC ¶ 84. These facts do not plead that Khmaladze owed a

fiduciary duty to Vorotyntsev. Vorotyntsev is alleged to have been Khmaladze’s superior—the

majority owner of ShopLink, the company for which Khmaladze worked. While Khmaladze had

specialized expertise upon which Vorotytnsev alleges he relied, these allegations on their own are

inadequate to state a claim. See Maalouf v. Salomon Smith Barney, Inc., No. 02 Civ. 4770(SAS), 2003 WL

1858153, at *5 (S.D.N.Y. 2003) (holding allegations that defendant “was in a dominant position as it

possessed knowledge and expertise” insufficient to survive motion to dismiss). Fundamentally, the

fact that Khmaladze, the software engineer, knew more about computers than his boss does not

make him a fiduciary with direct responsibilities to his boss or the company’s shareholders. Because

this claim is not plausibly pleaded, it is dismissed without prejudice.

    VI.       Leave to Amend

          Motions to amend are governed by Fed. R. Civ. P. 15, which provides that “leave to amend a

pleading should be freely granted ‘when justice so requires.’” Agerbrink v. Model Service LLC, 155 F.

Supp. 3d 448, 452 (S.D.N.Y. 2016). Under this standard, a motion to amend should be denied only

if the moving party has unduly delayed or acted in bad faith, the opposing party will be unfairly

prejudiced if leave is granted, or the proposed amendment is futile. Id. Given this liberal standard,




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Vorotyntsev is granted leave to amend his amended counterclaims to remedy the deficiencies

identified in this opinion.

    VII.    CONCLUSION

        For the foregoing reasons, Plaintiffs’ motion to dismiss Vorotyntsev’s counterclaim (Count

One) is GRANTED. Plaintiffs’ motion to dismiss ShopLink’s claims for promissory estoppel and

unjust enrichment (Counts Five and Six) is DENIED and their motion to dismiss ShopLink’s claim

for tortious interference with prospective business relations (Count Seven) is DENIED. Finally,

Plaintiffs’ motion to dismiss the AUM Code Defendants’ counterclaim for promissory estoppel

(Count Four) is DENIED and their motion to dismiss the AUM Code Defendants’ claim for breach

of contract (Count Six) is DENIED.

        The Clerk of Court is directed to close the motion pending at Dkt. No. 47.

        SO ORDERED.

Dated: April 18, 2019
New York, New York                            __________________________________
                                                    GREGORY H. WOODS
                                                    United States District Judge




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